                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,
                   Plaintiff,                                     CR11-4065-MWB
 vs.                                                 REPORT AND RECOMMENDATION
                                                        ON MOTION TO SUPPRESS
 ANGEL AMAYA,
                   Defendant.
                                      ____________________


       On May 18, 2011, the grand jury returned an Indictment against the defendant
Angel Amaya and three other defendants charging them with conspiracy to distribute
methamphetamine, cocaine, and marijuana. See Indictment, Doc. No. 1.1 On June 10,
2011, Amaya filed a motion to suppress evidence seized (1) pursuant to a search warrant
at his residence; (2) during a consent search of his parents’ trailer, and (3) during a search
of his vehicle. Doc. No. 37. He also requested a Franks2 hearing to challenge the
affidavit submitted in support of the search warrant. Id., p. 6. The motion was resisted
by the government (Doc No. 40), and Amaya filed a reply brief (Doc. No. 44). On
July 1, 2011, Amaya filed an amended and substituted motion to suppress (Doc. No. 50).
The motion to suppress has been assigned to the undersigned for a report and
recommendation. Doc. No. 22.
       The court held a hearing on the motion on July 7, 2011. Assistant United States
Attorney Robert A. Knief appeared on behalf of the government. The defendant appeared
personally with his attorney R. Scott Rhinehart. The search warrant papers were admitted

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         On July 28, 2011, the Grand Jury returned a Superseding Indictment (Doc. No. 77) adding two
additional defendants, changing the quantity of cocaine alleged in the conspiracy charge, and adding a
money laundering count. See Doc. No. 78. Nothing in the Superseding Indictment changes the analysis
in this Report and Recommendation.
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           Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978).



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into evidence as Government Exhibit 1. Reports of two debriefings of a cooperating
source, Didier Cancino-Torres (“Cancino”), were admitted as Government Exhibit 2.
Special Agent David Jensen of the Drug Enforcement Agency testified at the hearing.
Also, the court has taken judicial notice of the court file in United States vs. Didier
Cancino-Torres, 11 CR 4013-DEO. On July 8, 2011, Amaya filed a post hearing
supplemental brief in support of his motion to suppress. Doc. No. 61. The motion now
is fully submitted.


                                 I. BACKGROUND FACTS
       On February 16, 2011, Didier Cancino-Torres was indicted in this court on drug
distribution charges. See United States v. Cancino-Torres, 11 CR 4013, Superseding
Indictment, Doc. No. 13. On March 2, 2011, federal agents conducted a proffer interview
of Cancino. Gov’t Ex. 2, pp. 1-5. Cancino initially minimized the extent of his drugs
dealings, but admitted that he had obtained methamphetamine from someone named
“Angel”on two occasions. He stated that his first purchase of methamphetamine from
Angel was two ounces and the second was three and one-half ounces. Later in the
interview, Cancino was warned by the agents not to lie, and after he consulted privately
with his attorney, he admitted that he had purchased a total of a pound and a quarter of
methamphetamine from Angel. Later in the interview he admitted that the quantity might
have been larger. Cancino provided the agents with Angel’s telephone number, and told
them that Angel drove a dark gray or blue/gray 2003 or 2004 Dodge pickup and lived in
a trailer off of Morningside Avenue near a gas station.3
       On April 4, 2011, Cancino signed a plea agreement in which he agreed to cooperate
with law enforcement. Doc. No. 51-1, 11 CR 4013. On April 27, 2011, Cancino gave


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       This address turned out to be the address of Amaya’s parents, where the government contends
Amaya engaged in drug-dealing activities.

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a second proffer to the drug agents. Id., pp. 6-8. He was shown a copy of the report of
his first interview and was asked for any corrections. In response, he described additional
drug dealing activities with Angel. He also identified Amaya fron a photograph as being
the “Angel” with whom he had been dealing. The next day, on April 28, 2011, Cancino
pled guilty to four drug distribution charges in this court. Doc. No. 53, 11 CR 4013.
       The officers then conducted at least one “trash pull” at Amaya’s residence. They
found vacuum-sealed bags, one of which smelled strongly of marijuana; two digital scale
boxes; and loose plastic wrap consistent with wrappings used to bundle drugs. On May 6,
2011, officers performed a traffic stop on a vehicle being driven by Amaya and arrested
him on traffic charges. A police dog alerted to the passenger seat of the vehicle, and the
vehicle was searched. They seized two cell phones, but no drugs or contraband was
discovered in the vehicle. The defendant made no statements after his arrest.
       DEA officers then obtained a State of Iowa search warrant to search Amaya’s
residence in Sioux City. During the search, the officers seized a quantity of cocaine, a
motorcycle, a camcorder, and a bill of lading. The officers then went to a trailer where
Amaya’s parents lived, and Amaya’s parents gave the officers consent to search the trailer.
During that search, the officers seized several vacuum-sealed bags, some carbon paper,
and some drug records, all of which the government contends belong to Amaya.


                                    II. DISCUSSION
       Amaya argues that the affidavit submitted in support of the application for the
warrant to search his house was not sufficient to establish probable cause to support the
issuance of the warrant. He therefore argues that the items seized during the search should
be suppressed. He maintains that the affidavit was a “bare bones” affidavit that stated only
“suspicions, beliefs or conclusions to justify the issuance of a search warrant” that were
insufficient to establish probable cause. Doc. No. 50, p. 6. The court disagrees.


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       The judicially created exclusionary rule to the Fourth Amendment “forbids the use
of improperly obtained evidence at trial.” United States v. Barnum, 564 F.3d 964, 968-69
(8th Cir. 2009) (quoting Herring v. United States, 555 U.S. 135, 129 S. Ct. 695, 699
(2009)). Not every Fourth Amendment violation, however, results in exclusion of the
evidence obtained pursuant to a defective search warrant. United States v. Hamilton, 591
F.3d 1017, 1027 (8th Cir. 2010) (citing Herring, 555 U.S. at ___, 129 S. Ct. at 700).
Rather, the exclusionary rule is “designed to safeguard Fourth Amendment rights generally
through its deterrent effect.” Herring, 555 U.S. at ___, 129 S. Ct. at 699 (quoting United
States v. Calandra, 414 U.S. 338, 348, 94 S. Ct. 613, 620 (1974)). In this regard, the
rule applies only where it results in appreciable deterrence, id. at ___, 129 S. Ct. at 700,
and in applying the rule the court balances the benefits of deterrence against the costs of
excluding the evidence. Hamilton, 591 F.3d at 1028. The court also assesses the
flagrancy of the police misconduct in determining the application of the exclusionary rule,
which serves to “deter deliberate, reckless, or grossly negligent conduct, or in some
circumstances recurring or systemic negligence.” Herring, 555 U.S. at ___, 129 S. Ct.
at 702; see Hamilton, 591 F.3d at 1029.
       “If an affidavit in support of a search warrant sets forth sufficient facts to lead a
prudent person to believe that there is a fair probability that contraband or evidence of a
crime will be found in a particular place, probable cause to issue the warrant has been
established.” United States v. Grant, 490 F.3d 627, 631 (8th Cir. 2007) (quoting Illinois
v. Gates, 462 U.S. 213, 238, 103 S. Ct. 2317, 2332 (1983); United States v. Warford, 439
F.3d 836, 841 (8th Cir. 2006)) (internal quotation marks omitted). “Whether probable
cause to issue a search warrant has been established is determined by considering the
totality of the circumstances, and resolution of the question by an issuing judge should be
paid great deference by reviewing courts.” Id. at 631-32 (quoting Gates, 462 U.S. at 236,
103 S. Ct. at 2331) (internal quotation marks omitted). Accordingly, the court examines


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the sufficiency of a search warrant affidavit “using a common sense and not a
hypertechnical approach.” Id. at 632 (quoting United States v. Solomon, 432 F.3d 824,
827 (8th Cir. 2005)) (internal quotation marks omitted). “When reviewing a probable
cause finding, the duty of this court is simply to ensure that the judicial officer that
authorized the search had a substantial basis for concluding that probable cause
existed . . . .” United States v. Buchanan, 574 F.3d 554, 561 (8th Cir. 2009) (quoting
Gates, 462 U.S. at 238-39, 103 S. Ct. at 2332) (internal quotation marks omitted). If the
issuing judge had a substantial basis for concluding that a search would uncover evidence
of wrongdoing, his determination of probable cause should be upheld. United States v.
Stevens, 530 F.3d 714, 718 (8th Cir. 2008) (citing Gates, 462 U.S. at 236, 103 S. Ct. at
2331).
         Thus, the scope of this court’s review of the search warrant in this case is limited
to a determination of whether the magistrate had a “substantial basis” to conclude a search
would uncover evidence of wrongdoing. In conducting this review, the court is mindful
that “affidavits are normally drafted by nonlawyers in the midst and haste of a criminal
investigation.” Gates, 462 U.S. at 235, 103 S. Ct. at 2330 (internal quotation marks
omitted). “[M]any warrants are . . . issued on the basis of nontechnical, common-sense
judgments of laymen applying a standard less demanding than those used in more formal
legal proceedings.” Id. at 235-36, 103 S. Ct. at 2331. The task of the issuing judge is
simply “to make a practical, common-sense decision whether, given all the circumstances
set forth in the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of
persons supplying hearsay information, there is a fair probability that contraband or
evidence of a crime will be found in a particular place.” Id. at 238, 103 S. Ct. at 2332.
         Notably, even if, in hindsight, the information in the affidavit is deemed insufficient
to support a finding of probable cause to issue the warrant, the evidence will not be
suppressed if the officers acted in reasonable, good faith reliance on a search warrant


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issued by a neutral and detached magistrate. United States v. Leon, 468 U.S. 897, 922-23,
104 S. Ct. 3405, 3420, 82 L. Ed. 2d 677 (1984); accord United States v. Lucca, 377 F.3d
927, 933 (8th Cir. 2004). “Nevertheless, the officer’s reliance on the magistrate’s
probable-cause determination and on the technical sufficiency of the warrant he issues must
be objectively reasonable, . . . and it is clear that in some circumstances the officer will
have no reasonable grounds for believing that the warrant was properly issued.” Leon,
468 U.S. at 922-23, 104 S. Ct. at 3420 (citations and footnote omitted). As the United
States Supreme Court noted in Leon:
              It is necessary to consider the objective reasonableness, not
              only of the officers who eventually executed a warrant, but
              also of the officers who originally obtained it or who provided
              information material to the probable-cause determination.
              Nothing in our opinion suggests, for example, that an officer
              could obtain a warrant on the basis of a “bare bones” affidavit
              and then rely on colleagues who are ignorant of the
              circumstances under which the warrant was obtained to
              conduct the search.
Id. at 923 n.24, 104 S. Ct. at 3420 n.24 (citations omitted).
       Thus, if serious deficiencies exist either in the warrant application itself (e.g., where
“the magistrate or judge in issuing a warrant was misled by information in an affidavit that
the affiant knew was false or would have known was false except for his reckless disregard
of the truth,” id. at 923, 104 S. Ct. at 3421 (citing Franks v. Delaware, 438 U.S. 154, 98
S. Ct. 2674, 57 L. Ed. 2d 667 (1978)), or in the magistrate’s probable cause
determination, then the Leon good-faith exception may not apply. As the Leon Court
explained:
                      Deference to the magistrate, however, is not boundless.
              It is clear, first, that the deference accorded to a magistrate’s
              finding of probable cause does not preclude inquiry into the
              knowing or reckless falsity of the affidavit on which that
              determination was based. Second, the courts must also insist
              that the magistrate purport to “perform his ‘neutral and

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             detached’ function and not serve merely as a rubber stamp for
             the police.” A magistrate failing to “manifest that neutrality
             and detachment demanded of a judicial officer when presented
             with a warrant application” and who acts instead as “an
             adjunct law enforcement officer” cannot provide valid
             authorization for an otherwise unconstitutional search.
                    Third, reviewing courts will not defer to a warrant
             based on an affidavit that does not “provide the magistrate
             with a substantial basis for determining the existence of
             probable cause.” “Sufficient information must be presented to
             the magistrate to allow that official to determine probable
             cause; his action cannot be a mere ratification of the bare
             conclusions of others.” Even if the warrant application was
             supported by more than a “bare bones” affidavit, a reviewing
             court may properly conclude that, notwithstanding the
             deference that magistrates deserve, the warrant was invalid
             because the magistrate’s probable-cause determination
             reflected an improper analysis of the totality of the
             circumstances, or because the form of the warrant was
             improper in some respect.
Leon, 468 U.S. at 914-15, 104 S. Ct. at 3416 (internal citations omitted). The Court noted
that good faith on law enforcement’s part in executing a warrant “is not enough,” because
“[i]f subjective good faith alone were the test, the protections of the Fourth Amendment
would evaporate, and the people would be ‘secure in their persons, houses, papers, and
effects,’ only in the discretion of the police.” Id. at 915 n.13, 104 S. Ct. at 3417 n.13
(citing Beck v. Ohio, 379 U.S. 89, 97, 85 S. Ct. 223, 228, 13 L. Ed. 2d 142 (1964), and
Henry v. United States, 361 U.S. 98, 102, 80 S. Ct. 168, 171, 4 L. Ed. 23 134 (1959)).
      In the present case, in Special Agent Jensen’s affidavit in support of the search
warrant, he recited the following:
             On 05-05-11, agents of the DEA Tri-State Task Force
             conducted a trash pull at 2503 Williams Ave., Sioux City, IA.
             Agents had previously received historical information provided
             by Didier Cancino-Torres that AMAYA was a crystal
             methamphetamine distributor that lived in the Transit Plaza


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              area. Cancino further stated Cancino purchased a total of 1.25
              pounds of crystal methamphetamine in the Fall to Winter of
              2010. Cancino described a Dodge pick-up that AMAYA
              drove at the time that agents subsequently located at 2503
              Williams and is still parked in the driveway as of 05-07-11.
              Agents have conducted surveillance in May, 2011, of AMAYA
              and determined 2503 Williams is the residence of AMAYA.
              On 05-05-11, there were two garbage containers at the curb
              that contained the following items: Two vacuum-sealed bags,
              one of which smell [sic] strongly of raw marijuana, two digital
              scale boxes, commonly used in the distribution of drugs, and
              several pieces of loose plastic wrap consistent with wrapping
              drug bundles agents have observed in past drug investigations.

              On 05-06-11, AMAYA was arrested by agents for Conspiracy
              to Distribute Methamphetamine, Cocaine, and Marijuana.
              AMAYA was traffic stopped by officers on 05-06-11 and a K-
              9 alerted to the passenger seat of AMAYA’s GMC Yukon.
              Seized during the traffic stop were two cell phones, an Apple
              I-Phone and an LG cell phone belonging to AMAYA.

              It has been my experience that in previous drug investigations
              that drug distributors use cell phones to store data, including
              drug customer numbers, text messages, photos, and
              incoming/outgoing phone contacts. Drug traffickers also store
              drugs, drug pay/owe sheets, drug monies, drug paraphernalia,
              and other items indicative of drug trafficking in their
              residences for personal use, later sale, and concealment.
Gov’t Ex. 1, p. 7.
       This affidavit contained far more than a bare statement of suspicions, beliefs, and
conclusions, as contended by Amaya. First of all, the affidavit contained information from
a cooperating source that Amaya was a large-scale drug dealer. The informant also
described the vehicle Amaya was driving. The source’s information was corroborated
when the officers found the vehicle described by the source parked in Amaya’s driveway.
In a trash pull at Amaya’s residence, officers then found items consistent with drug dealing


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activities, including a bag smelling strongly of marijuana and two digital scale boxes.
Then officers made a traffic stop of Amaya’s vehicle, and a drug dog alerted to the
passenger seat. Two cell phones were found in the vehicle. This information far exceeds
the “bare bones” type of affidavit referred to by Amaya.
        In his supplemental brief (Doc. No. 61), Amaya argues that the information in the
affidavit did not contain sufficient facts to support a conclusion that drugs would be found
in Amaya’s house, and further, that the information in the affidavit was stale. The court
disagrees. While the information from the cooperating source was several months old, on
the day the search warrant was issued, a drug dog alerted to Amaya’s vehicle. The vehicle
was routinely parked in the driveway of Amaya’s residence. A trash pull at the residence
a few days before the search suggested strongly that two new digital scales, marijuana, and
drug packaging materials would be found in the residence. These facts, together with
evidence from a cooperating source that a large-scale drug dealer lived in the residence,
were more than sufficient for the magistrate to conclude that drugs or other evidence of
criminal activity likely would be found in the residence.4 Although the evidence from the
informant was several months old, the recently developed evidence was more than
sufficient to prevent the warrant from being stale.
        Amaya cites the court to United States v. Smith, 581 F.3d 692 (8th Cir. 2009), to
support his argument that the affidavit in this case was insufficient to establish probable
cause. Doc. No. 61, p. 3. In Smith, the affidavit recited that the defendant had a prior
drug conviction and that a recent search of the trash at his residence yielded evidence of
illegal drug activity. The court found that those fact established probable cause to issue
a warrant to search the defendant’s residence for evidence of drug trafficking. Id. at 694.
The information submitted to the magistrate in the present case was stronger than what was


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       The warrant was not only for drugs, but also was for paraphernalia, records, cellular phones, and
numerous other items.

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submitted to the judge in Smith. See also United States v. Briscoe, 317 F.3d 906, 908 (8th
Cir. 2003) (evidence from a trash pull can contribute significantly to probable cause). The
court finds the affidavit contained sufficient information to establish probable cause to
support the issuance of the search warrant.
         Even if the magistrate had improperly analyzed the totality of the circumstances in
finding probable cause, under Leon, the exclusionary rule should not be applied to exclude
evidence as a means of punishing or deterring the errant or negligent magistrate. The
Supreme Court found that penalizing officers who act in good faith on a warrant because
of a magistrate’s error in issuing the warrant “cannot logically contribute to the deterrence
of Fourth Amendment violations.” Leon, 468 U.S. at 921, 104 S. Ct. at 3419. The
relevant question is whether law enforcement actions were objectively reasonable; i.e.,
whether “the offending officers acted in the objectively reasonable belief that their conduct
did not violate the Fourth Amendment.” Id. at 918, 104 S. Ct. at 3418. The Leon Court
noted:
                       As we observed in Michigan v. Tucker, 417 U.S. 433,
               447, 94 S. Ct. 2357, 2365, 41 L. Ed. 2d 182 (1974), and
               reiterated in United States v. Peltier, 422 U.S. at 539, 95 S.
               Ct. at 2318:
                              “The deterrent purpose of the
                       exclusionary rule necessarily assumes that the
                       police have engaged in willful, or at the very
                       least negligent, conduct which has deprived the
                       defendant of some right. By refusing to admit
                       evidence gained as a result of such conduct, the
                       courts hope to instill in those particular
                       investigating officers, or in their future
                       counterparts, a greater degree of care toward the
                       rights of an accused. Where the official action
                       was pursued in complete good faith, however,
                       the deterrence rationale loses much of its force.”
               The Peltier Court continued, id. at 542, 95 S. Ct. at 2320:


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                            “If the purpose of the exclusionary rule is
                     to deter unlawful police conduct, then evidence
                     obtained from a search should be suppressed
                     only if it can be said that the law enforcement
                     officer had knowledge, or may properly be
                     charged with knowledge, that the search was
                     unconstitutional under the Fourth Amendment.”
Leon, 468 U.S. at 919, 104 S. Ct. at 3418-19.
       Applying these standards, the court finds that even if probable cause did not support
the warrant, suppression of the evidence seized pursuant to the warrant is not appropriate
under the principles of Leon. See Herring, 555 U.S. at ___, 129 S. Ct. at 700 (exclusion
has always been a last resort).
       Amaya also argues that the officer who obtained the search warrant withheld
information from the issuing magistrate that, if it had been disclosed, would have resulted
in the warrant not being issued. Amaya points out that the officer did not advise the
magistrate that Cancino was an illegal alien. The officer also failed to disclose to the
magistrate that during his two proffers Cancino at first minimized his involvement in drug
dealing activities but then changed his story several times, each time admitting to an
increased level of involvement. The officer also failed to advise the magistrate the fact that
Cancino had recently pled guilty to federal drug charges. Amaya argues that if these facts
had been disclosed to the issuing magistrate, she would not have issued the search warrant.
He therefore argues that the items seized from his home pursuant to the warrant should be
suppressed under Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674, 57 L. Ed. 2d 667
(1978).
       To be entitled to a hearing on a Franks claim, the defendants first must make a
“substantial preliminary showing” that a false statement necessary to the finding of
probable cause was “knowingly and intentionally, or with reckless disregard for the truth,”
included in the warrant affidavit or that information critical to a finding of probable cause


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was left out of the affidavit. Franks, 438 U.S. at 155, 98 S. Ct. at 2676. Amaya never
made such a showing, but the court nevertheless provided Amaya with a Franks hearing.
At the hearing, Amaya failed to make the required showing. As the court stated in Smith:
              Absent a finding of deliberate falsehood or reckless disregard
              for the truth, what a facially valid warrant affidavit might have
              contained is simply irrelevant. Moreover, because a warrant
              application need only show facts establishing probable cause,
              “recklessness may be inferred from the . . . omission of
              information from an affidavit . . . only when the material
              omitted would have been clearly critical to the finding of
              probable cause.” United States v. Ozar, 50 F.3d 1440, 1445
              (8th Cir. 1995) (quotation omitted). Here, as the district court
              noted, omission of the fact that Smith’s trash included mail
              addressed to other persons at 4401 5th Avenue South, and that
              trash from two garbage cans might have been pulled, raising
              the possibility that the drug residue and paraphernalia came
              from the other unit’s trash, did not eliminate the affidavit’s
              showing of a fair probability that evidence of narcotics
              trafficking could be found in Smith’s home.
Smith, 581 F.3d at 695 (alteration in original).      As in Smith, Amaya has offered no
evidence to show that the officer who signed the search warrant affidavit intentionally or
recklessly omitted from the affidavit information that would have been “clearly critical”
to a finding of probable cause. The fact that an informant who admitted dealing drugs had
pled guilty to drug charges in federal court was not critical to a finding of probable cause.
It already was apparent from the affidavit that the informant was a drug dealer. The fact
that he had pled guilty to charges that he was a drug dealer would have provided no new
information to the magistrate. Likewise, the fact that the informant at first minimized his
involvement in drug dealing activities during his proffer but later changed his story and
admitted more extensive involvement, is common and expected in such situations. See
United States v. Mitten, 592 F.3d 767, 774 (7th Cir. 2010) (“[I]t is probable that both
informants in this case provided their information after they had been arrested for selling


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crack and were motivated by a desire to lessen the consequences they would likely suffer
for their own crimes. That is almost always the case in drug investigations, but it does not
make the information they provide inherently unreliable.”). This additional information
would have had no significant influence on the magistrate’s probable cause determination.
In fact, “[s]tatements against the penal interest of an informant naturally carry considerable
weight” in finding probable cause to search. United States v. LaMorie, 100 F.3d 547, 553
(8th Cir. 1996); see also United States v. Olson, 408 F.3d 366, 371 (7th Cir. 2005)
(informant’s admission of greater culpability than originally suspected was statement
against penal interest carrying presumption of reliability; informant’s motive to curry favor
does not necessarily render an informant unreliable). Finally, the fact that the informant
was an illegal alien had nothing to do with the probable cause determination. In sum,
Amaya has failed to establish a Franks violation in the present case.
       Amaya also asks the court to suppress the items seized during the consent search
of his parents’ trailer as “the fruit of the poisonous tree” because it followed from the
defective search warrant for the search of his house, citing Wong Sun v. United States, 371
U.S. 471, 83 S. Ct. 407 (1963). The argument fails at the outset because the court has
found that the warrant was not unlawful. Furthermore, the uncontroverted evidence at the
hearing was that the search of Amaya’s parents’ trailer did not follow from anything seized
pursuant to the search warrant, and would have taken place whether or not anything was
found during the execution of the search warrant. Tr. pp. 22-24. Finally, Amaya has not
shown that he has standing to challenge this search of his parents’ trailer. See United
States v. Randolph, 628 F.3d 1022, 1026 (8th Cir. 2011) (To contest the validity of a
search, a person must show that he had a reasonable expectation of privacy in the place
searched).
       Finally, Amaya asks the court to suppress items seized from his vehicle at the time
of his arrest. He states no grounds for this request, and in any event, the government


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represents that no evidence was seized from the vehicle that will be offered at trial.
Amaya has failed to establish that the court should issue a suppression order in connection
with anything seized during the search of the vehicle.


                                  III. CONCLUSION
       For the reasons discussed above, IT IS RESPECTFULLY RECOMMENDED that
the motion to suppress be denied. Objections to this Report and Recommendation must
be filed by August 15, 2011. Responses to objections must be filed by August 22, 2011.
       IT IS SO ORDERED.
       DATED this 8th day of August, 2011.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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